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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



MICHAEL GRASSO,

      Plaintiff,

v.                                                       4:21cv310–WS/MAF

ARD CONTRACTING, INC., et al,

      Defendants.



               ORDER ADOPTING THE MAGISTRATE JUDGE’S
                   REPORT AND RECOMMENDATION

      Before the court is the magistrate judge's report and recommendation (ECF

No. 36) docketed June 8, 2022. The magistrate judge recommends that the motion

(ECF No. 14) to dismiss filed by Defendant, Ard Contracting, Inc. (“Ard”), be

granted. No objections to the report and recommendation have been filed.

      The undersigned has reviewed the record and has determined that the

magistrate judge's report and recommendation should be adopted.

Accordingly, it is ORDERED:

      1. The magistrate judge’s report and recommendation (ECF No. 36) is

ADOPTED and incorporated by reference into this order.
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      2. Defendant Ard’s motion to dismiss (ECF No. 14) is GRANTED.

      3. Plaintiff’s claim for intentional infliction of emotional distress against Ard

is DISMISSED with prejudice.

      4. The clerk shall note on the docket that Ard Contracting, Inc., has been

terminated as a defendant in this case.

      5. The clerk shall return the case to the magistrate judge for further

proceedings against Defendants Powell, Gray, and Varner.

      DONE AND ORDERED this               8th   day of    July   , 2022.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE
